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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF OHIO
                            EASTERN DIVISION

UNITED STATES OF AMERICA

      vs.                                  Criminal Action 2:20-cr-147(2)
                                           JUDGE MICHAEL H. WATSON
ROMERO D. REED

                         REPORT AND RECOMMENDATION

      Defendant Romero D. Reed previously pleaded not guilty to a
Superseding Indictment that charges him with conspiracy in violation
of 18 U.S.C. § 371 (Count 1), two counts of being a felon in
possession of a firearm in violation of 18 U.S.C. §§ 922(g)(1), 924(a)
(Counts 3, 4), and possession with intent to distribute a mixture or
substance containing a detectable amount of heroin in violation of 21
U.S.C. § 841 (Count 5). Superseding Indictment, ECF No. 15. The
Superseding Indictment also includes forfeiture provisions. Id. The
United States and defendant thereafter entered into a plea agreement,
executed under the provisions of Rule 11(c)(1)(C) of the Federal Rules
of Criminal Procedure, whereby defendant agreed to enter a plea of
guilty to Counts 3, 4, and 5.1 On October 20 2021, defendant, assisted
by his counsel, participated in a change of plea proceeding.2
      After being advised of his right to appear personally and with
his counsel and after consulting with his counsel, defendant also
consented to appear by videoconference.



      1 In addition to specifying sentencing terms, the current Plea
Agreement, ECF No. 68, includes an appellate waiver provision that preserves
only certain claims for appeal or collateral challenge. Under the Plea
Agreement, defendant also agreed to forfeit his interest in specified
firearms and ammunition.
      2 A change of plea proceeding was previously held on June 23, 2021, but
that hearing was terminated when defendant disputed his guilt as to Count 4
of the Superseding Indictment. At the hearing held on October 20, 2021, the
Court expressly inquired about Count 4 and defendant expressly and explicitly
admitted his guilt as to that count, as well as to Counts 3 and 5.
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     Defendant consented, pursuant to 28 U.S.C. §636(b)(3), to enter a
guilty plea before a Magistrate Judge.       See United States v. Cukaj, 25
Fed. Appx. 290, 291(6th Cir. 2001)(Magistrate Judge may accept a guilty
plea with the express consent of the defendant and where no objection
to the report and recommendation is filed).
     During the plea proceeding, the undersigned observed the
appearance and responsiveness of defendant in answering questions.
Based on that observation, the undersigned is satisfied that, at the
time he entered his guilty plea, defendant was in full possession of
his faculties, was not suffering from any apparent physical or mental
illness, and was not under the influence of narcotics, other drugs, or
alcohol.
     Prior to accepting defendant’s plea, the undersigned addressed
defendant personally and in open court and determined his competence
to plead.    Based on the observations of the undersigned, defendant
understands the nature and meaning of the charges in the Superseding
Indictment and the consequences of the plea of guilty to Counts 3, 4,
and 5.     Defendant was also addressed personally and in open court and
advised of each of the rights referred to in Rule 11 of the Federal
Rules of Criminal Procedure.
     Having engaged in the colloquy required by Rule 11, the Court
concludes that defendant’s plea is voluntary.        Defendant acknowledged
that the plea agreement signed by him, his attorney and the attorney
for the United States and filed on September 23, 2021,represents the
only promises made by anyone regarding the charges in the Superseding
Indictment.    Defendant was advised that the District Judge may accept
or reject the plea agreement. Defendant was further advised that, if
the District Judge refuses to accept the plea agreement, defendant
will have the opportunity to withdraw his guilty plea but that, if he
does not withdraw his guilty plea under those circumstances, the
District Judge may impose a sentence that is more severe than the
sentence contemplated in the plea agreement, up to the statutory
maximum.

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      Defendant confirmed the accuracy of the statement of facts
supporting the charge, which is attached to the Plea Agreement, and
which was supplemented at the change of plea proceeding. 3        He confirmed
that he is pleading guilty to Counts 3, 4, and 5 of the Superseding
Indictment because he is in fact guilty of those offenses.          The Court
concludes that there is a factual basis for the plea.
      The Court concludes that defendant’s plea of guilty to Counts 3,
4, and 5 of the Superseding Indictment is knowingly and voluntarily
made with understanding of the nature and meaning of the charges and
of the consequences of the plea.
      It is therefore RECOMMENDED that defendant’s guilty plea to
Counts 3, 4, and 5 of the Superseding Indictment be accepted.
Decision on acceptance or rejection of the plea agreement was deferred
for consideration by the District Judge after the preparation of a
presentence investigation report.
      In accordance with S.D. Ohio Crim. R. 32.1, and as expressly
agreed to by defendant through counsel, a written presentence
investigation report will be prepared by the United States Probation
Office.    Defendant will be asked to provide information; defendant’s
attorney may be present if defendant so wishes.        Objections to the
presentence report must be made in accordance with the rules of this
Court.
      If any party seeks review by the District Judge of this Report
and Recommendation, that party may, within fourteen (14) days, file
and serve on all parties objections to the Report and Recommendation,
specifically designating this Report and Recommendation, and the part
thereof in question, as well as the basis for objection thereto.           28
U.S.C. §636(b)(1); F.R. Civ. P. 72(b).       Response to objections must be
filed within fourteen (14) days after being served with a copy
thereof.    F.R. Civ. P. 72(b).

      3 The Statement of Facts does not specify the nexus with interstate
commerce of the specified firearms. The parties agreed during the change of
plea proceeding that the firearms involved in Counts 3 and 4 were
manufactured outside the State of Ohio, and that the interstate element of
the offenses charged in those Counts has been satisfied.
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     The parties are specifically advised that failure to object to
the Report and Recommendation will result in a waiver of the right to
de novo review by the District Judge and of the right to appeal the
decision of the District Court adopting the Report and Recommendation.
See United States v. Wandahsega, 924 F.3d 868, 878 (6th Cir. 2019);
Thomas v. Arn, 474 U.S. 140 (1985).




October 20, 2021                                s/ Norah McCann King
 Date                                            Norah McCann King
                                           United States Magistrate Judge




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